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Re: [EXTERNAL] Re: Edward Lang, 76480-054

Knepper, Jennifer (BOP) a

Thu 12/1/2022 1:32 PM

To: Hoang Quan <hq801@proton.me>
Cc: metcalflawnyc@gmail.com <metcalflawnyc@gmail.com>

Bcc: Reinard, Dallas (BOP) (i: Phelps, Maggie (GOP) mm
Mr. Quan,

| appreciate the amount of work that goes into litigation defense; however, we also have to ensure
access to the other inmates who require legal visits and court appearances. Counsel is afforded the
ability to contact inmates in writing, in person, or via telephone. Inmate Lang can also receive discovery
at the facility to review at his convenience.

Until we have received the completed documentation, we cannot accommodate further video visit
requests unless Mr. Metcalf or another licensed attorney is present. Please have Mr. Metcalf advise
whether he will be present for the visit requests scheduled for 12/2, 12/5, 12/6, 12/7, and 12/8. Please
note those visits will last one hour.

Best,

Jennifer K. Knepper
Supervisory Attorney

USP Lewisburg

2400 Robert F. Miller Drive
Lewisburg, PA 17837

Serving FCC Allenwood, USP Canaan, USP Lewisburg, and FCI Schuylkill

From: Hoang Quan <hq801@proton.me>
Sent: Thursday, December 1, 2022 1:15 PM

To: Knepper, Jennifer (BOP) [An

Cc: metcalflawnyc@gmail.com <metcalflawnyc@gmail.com>
Subject: [EXTERNAL] Re: Edward Lang, 76480-054

Dear Ms. Knepper,

I understand your concerns and will get with Mr. Metcalf to provide you with my personal information for the
BOP's required background checks.

Mr. Lang's legal team is up against extremely tight deadlines for motions and trial preparation. There is a
mountain of evidence to wade through and investigations to be conducted on behalf of Mr. Lang. We cannot
afford to forgo any preparation time with Mr. Lang leading up to his trial which is in less than six months.

I hope you understand the urgency and the volume of work that we need to push through for Mr. Lang and
grant Mr. Lang the legal access that he requires.

Sincerely,

Hoang Quan
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crecee= Original Message -------

On Thursday, December 1st, 2022 at 8:24 AM, Knepper, Jennifer (BOP) re:

Mr. Metcalf,

I'm contacting you concerning legal video visits scheduled with inmate Edward Lang at USP
Lewisburg.

Our protocols permit one hour video visits daily, with requests for additional time to be
submitted in advance. Hoang Quan, who states he is your Senior Paralegal and represented
he was setting up video visits on your behalf, has scheduled visits with Mr. Lang daily for 3-4
hours each. Per our protocol, a copy of which is attached, the visits will only be scheduled
for one hour unless approved in advance. Typically, an imminent court deadline is the
reason for such an extension.

Additionally, it has come to my attention that Mr. Quan is conducting these meetings
without you or another attorney present. We've attempted to reach Mr. Quan at your office
without success. In order for Mr. Quan to engage in legal video visits on your behalf, he will
need to complete the attached NCIC before any further visits can occur. In addition, you and
Mr. Quan will need to complete the attached legal representative form to permit Mr. Quan
to act as your representative.

Please let me know if you have any questions.
Best,

Jennifer K. Knepper
Supervisory Attorney

USP Lewisburg

2400 Robert F. Miller Drive
Lewisburg, PA 17837

Fax:

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